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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  PUES FAMILY TRUST IRA,
  MICHAEL PUES EXECUTOR,                                       CASE NO. 19-MC-80024 DMM


  v.

  PARNAS HOLDINGS, INC. and
  LEV PARNAS,

                    Debtors.
  _____________________________/

                          NOTICE OF APPEARANCE OF COUNSEL


         NOTICE IS HEREBY GIVEN that Chris Alan Draper, Esq. of Greenspoon Marder LLP,

 is admitted and authorized to practice in this Court, and hereby appears as counsel for Non-Party,

 GLOBAL ENERGY PRODUCES, LLC in this cause, and requests that copies of all motions,

 notices and other pleadings heretofore or hereafter filed or served in this cause be furnished to the

 undersigned.

                                                       GREENSPOON MARDER LLP
                                                       Attorneys for Non-Party, Global Energy
                                                       Producers, LLC
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                                                       By: /s/Chris Alan Draper
                                                          Chris Alan Draper, Esq.
                                                          Florida Bar No. 0838640
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  Pues Family Trust IRA v. Lev Parnas, et al.
  Case No. 19-MC-80024 DMM
  Notice of Appearance of Counsel



                                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  this Court by CM/ECF. We also certify that the foregoing document is being served this 19th

  day of March 2019 on counsel of record identified on the below Service List in the manner

  specified, either via transmission of Notice of Electronic Filing generated by CM/ECF or by U.S.

  Mail to those who are not authorized to receive Notices of Electronic Filing.

                                                   SERVICE LIST

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                                                         By: /s/Chris Alan Draper
                                                            Chris Alan Draper, Esq.
                                                            Florida Bar No. 0838640




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